           Case 5:21-cv-00616-JWH-SP Document 183-13 Filed 09/07/22 Page 1 of 2 Page ID
                                            #:2483
                                                                                                                                                              CIV-110
ATTORNEY OR PARTY WITHOUT ATTORNEY:                             STATE BAR NO:    242462                                         FOR COURT USE ONLY
NAME:  Ilya Alekseyeff
FIRM NAME: LOIA, Inc.
STREET ADDRESS:   8721 Santa Monica Blvd #119
CITY:   West Hollywood                                                STATE:    CA     ZIP CODE: 90069
TELEPHONE NO.:     213.537.4592                                     FAX NO. :   888.303.7686
E-MAIL ADDRESS:     ilya@loia.legal
ATTORNEY FOR (Name):     ARTUR ELIZAROV
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 STREET ADDRESS: 111 N Hill St
 MAILING ADDRESS: 111 N Hill St
CITY AND ZIP CODE: Los Angeles 90012
    BRANCH NAME: Stanley Mosk Courthouse


        Plaintiff/Petitioner: ARTUR ELIZAROV
Defendant/Respondent: BMW FINANCIAL SERVICES NA, LLC
                                                                                                                CASE NUMBER:
                                       REQUEST FOR DISMISSAL
                                                                                                                19STCV08507 (Dept. 16)

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)
1. TO THE CLERK: Please dismiss this action as follows:
   a. (1)  ✔  With prejudice    (2)        Without prejudice
   b. (1)  ✔  Complaint         (2)        Petition
          (3)           Cross-complaint filed by (name):                                                           on (date):
          (4)           Cross-complaint filed by (name):                                                           on (date):
          (5)           Entire action of all parties and all causes of action
       (6)          Other (specify):*
2. (Complete in all cases except family law cases.)
   The court          did    ✔   did not waive court fees and costs for a party in this case. (This information may be obtained from the
   clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
Date: 08/14/2019
        Ilya Alekseyeff
(TYPE OR PRINT NAME OF           ✔   ATTORNEY            PARTY WITHOUT ATTORNEY)                                       (SIGNATURE)

*If dismissal requested is of specified parties only of specified causes of action only,     Attorney or party without attorney for:
or of specified cross-complaints only, so state and identify the parties, causes of           ✔    Plaintiff/Petitioner         Defendant/Respondent
action, or cross-complaints to be dismissed.
                                                                                                   Cross Complainant

3. TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:

(TYPE OR PRINT NAME OF               ATTORNEY             PARTY WITHOUT ATTORNEY)                                      (SIGNATURE)

** If a cross-complaint – or Response (Family Law) seeking affirmative                       Attorney or party without attorney for:
relief – is on file, the attorney for cross-complainant (respondent) must sign
this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                   Plaintiff/Petitioner         Defendant/Respondent
                                                                                                   Cross Complainant

(To be completed by clerk)
4.       Dismissal entered as requested on (date):
5            Dismissal entered on (date):                             as to only (name):
6.           Dismissal not entered as requested for the following reasons (specify):


7. a.            Attorney or party without attorney notified on (date):
   b.            Attorney or party without attorney not notified. Filing party failed to provide
                       a copy to be conformed               means to return conformed copy
Date:                                                          Clerk, by                                                                  , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                            Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                       REQUEST FOR DISMISSAL                                      § 68637(c); Cal. Rules of Court, rule 3.1390
CIV-110 [Rev. Jan. 1, 2013]                                                                                                                              www.courts.ca.gov

                                                                                                                                  Exhibit E - 1
            Case 5:21-cv-00616-JWH-SP Document 183-13 Filed 09/07/22 Page 2 of 2 Page ID
                                             #:2484
                                                                                                                                   CIV-110
                                                                                                 CASE NUMBER:
          Plaintiff/Petitioner:
Defendant/Respondent:




                                      COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)


                                             Declaration Concerning Waived Court Fees
1. The court waived court fees and costs in this action for (name):

2. The person named in item 1 is (check one below):
     a.            not recovering anything of value by this action.
     b.            recovering less than $10,000 in value by this action.
     c.            recovering $10,000 or more in value by this action. (If item 2c is checked, item 3 must be completed.)
3.           All court fees and court costs that were waived in this action have been paid to the court (check one):         Yes      No

I declare under penalty of perjury under the laws of the State of California that the information above is true and correct.

Date:


(TYPE OR PRINT NAME OF            ATTORNEY       PARTY MAKING DECLARATION)                              (SIGNATURE)




                                                                                                                                   Page 2 of 2
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